   Case 2:16-md-02740-JTM-MBN Document 16093-1 Filed 07/06/23 Page 1 of 4




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                          MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                     SECTION “N” (5)

                                                     JUDGE MILAZZO
                                                     MAG. JUDGE NORTH

                                                     PLAINTIFF’S MOTION FOR LEAVE
                                                     TO FILE AN AMENDED COMPLAINT


THIS DOCUMENT RELATES TO:                            Civil Action No.: 2:17-cv-16966-JTM-MBN

THELMA FORD v. SANOFI US SERVICES
INC, ET AL.

MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE
                       TO FILE AN AMENDED COMPLAINT

       COMES NOW Plaintiff Thelma Ford, by and through the undersigned counsel, pursuant

to Federal Rules of Civil 15(A)(2), respectfully moves the Court for leave to amend her Short

Form Complaint filed in this action. Plaintiff’s original Complaint was filed in the Eastern District

of Louisiana on December 11, 2017 (Ford v. Sanofi US Services, Inc., et al. Case No. 2:17-cv-

16966-JTM-MBN), and Plaintiff served Defendants pursuant to PTO 9.

       Pursuant to Local Rule 7.6, Plaintiff’s counsel conferred with counsel for Defendants who

oppose this motion.

       The court should freely give leave to file an amended complaint when justice so requires.

Fed. R. Civ. P. 15(A)(2). Justice requires an amendment in this case. At the time of filing her

complaint, Plaintiff was not aware that Hospira Worldwide, LLC f/k/a Hospira Worldwide, and

Hospira, Inc. had been the manufacturers of her chemotherapy. Plaintiff wishes to amend her




                                                 1
   Case 2:16-md-02740-JTM-MBN Document 16093-1 Filed 07/06/23 Page 2 of 4




complaint to include Hospira Worldwide, LLC f/k/a Hospira Worldwide, and Hospira, Inc. as the

only Defendants. Plaintiff’s proposed amendment would reflect this change consistent with how

numerous cases have remedied PID issues after successful use of the CMO 12/12A process.

       Notwithstanding these entities’ lack of standing to oppose an amendment when they are

not currently a named defendant in the instant case, no prejudice would result from allowing

Plaintiff to amend her short form complaint. This case is part of a multi-district litigation, in which

Hospira Worldwide, LLC f/k/a Hospira Worldwide, and Hospira, Inc. are already Defendants.

First, the information contained within Plaintiff’s short form complaint is encompassed in the

information available to Defendants on MDL Centrality, thus an Amended Complaint would not

lead to any surprise. Next, instead of filing answers to each suit filed against them in this MDL,

the Defendants were only required to file a Master Answer. PTO 15. Practically, Defendants have

access to all documents Plaintiff was required to (and did) produce in this litigation via MDL

Centrality, so there are no concerns with spoliation. Defendants also are and have always been

able to utilize Centrality to run reports on the identified Defendants. And, Defendants are not

precluded from bringing Rule 12/56 challenges at the appropriate time on remand.

        Moreover, and contrary to assertions of delay, Judge Engelhardt initially entered CMO 12

in response to Defendants’ objections to so-called “scattershot” complaints that sought to add all

Defendants in every case where PID was an issue. Thus, Defendants were well aware that

amendments would happen later on in this MDL, for efficiency and docket control purposes.

Indeed, CMO 12 also includes bilateral protections to both Plaintiffs and Defendants – that is, even

where there is presumptive proof, Defendants maintain their ability to later challenge such

evidence, and even if a Defendant is dismissed, the Order contemplates Rule 60 motions if

presumptive evidence is erroneous.




                                                  2
  Case 2:16-md-02740-JTM-MBN Document 16093-1 Filed 07/06/23 Page 3 of 4




        Defendants are not surprised by Plaintiff’s claim, and amending the complaint realistically

serves only as an administrative exercise. This is particularly true when the 505(b)(2) cases are

effectively stayed during the pending interlocutory appeal of this Court’s ruling denying summary

judgment on preemption grounds and there is not active litigation (other than PFS/PID/DFS) of

these individual matters, which were not selected for the bellwether process.

       For the reasons stated herein, Plaintiff requests that this Court grant leave to file the

attached Amended Complaint. Ordering otherwise would inconsistently punish Ms. Ford, who

has complied with the Court’s other discovery Orders, when other similarly situated plaintiffs have

been granted leave to amend their complaints for the same reasons.

Dated July 6, 2023.



                                                    BACHUS & SCHANKER, LLC
                                                    By: /s/ J. Christopher Elliott
                                                    J. Christopher Elliott, Esq.
                                                    Bachus & Schanker, LLC
                                                    950 17th Street, Suite 1050
                                                    Denver, CO 80202
                                                    Telephone: (303)893-8900
                                                    Facsimile: (303) 893-9900
                                                    Email: celliott@coloradolaw.net
                                                    Attorney for Plaintiff




                                                3
   Case 2:16-md-02740-JTM-MBN Document 16093-1 Filed 07/06/23 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2023, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first-class mail to all counsel of record who are non-CM/ECF

participants.

                                             s/J. Christopher Elliott
                                             J. Christopher Elliott, Esq.




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